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                                              January 8, 2024


      Via Email
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             Re:     Johnny M. Hunt v. Southern Baptist Convention et al.,
                     U.S.D.C. No. 3:23-cv-0243 (M.D. Tenn.)

      Counsel:

              We are in receipt of Rob’s letter dated Saturday, January 6, 2024, regarding documents
      produced by the             . Although your demand for a response to a Saturday letter by close of
      business the following Monday is neither helpful nor productive, we are looking into the matters
      raised in your letter and will respond as soon as we can.


                                                          Very truly yours,

                                                          s/ Katharine R. Klein

                                                          Katharine R. Klein

      cc:    All counsel of record




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